                                                                     1     Debra I. Grassgreen (CA Bar No. 169978)
                                                                           John D. Fiero (CA Bar No. 136557)
                                                                     2     Cia H. Mackle (admitted pro hac vice)
                                                                     3     PACHULSKI STANG ZIEHL & JONES LLP
                                                                           One Market Plaza, Spear Tower
                                                                     4     40th Floor, Suite 4000
                                                                           San Francisco, CA 94105-1020
                                                                     5     Telephone:      (415) 263-7000
                                                                           Facsimile:      (415) 263-7010
                                                                     6     E-mail:         dgrassgreen@pszjlaw.com
                                                                     7                     jfiero@pszjlaw.com
                                                                                           cmackle@pszjlaw.com
                                                                     8
                                                                           Attorneys for Michael Goldberg,
                                                                     9     Trustee of the PFI Trust

                                                                    10                                  UNITED STATES BANKRUPTCY COURT
                                                                                                        NORTHERN DISTRICT OF CALIFORNIA
                                                                    11                                       SAN FRANCISCO DIVISION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12     In re                                            Case No. 20-30604
                                                                                                                            (Jointly Administered)
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13     PROFESSIONAL FINANCIAL
                                            ATTORNEYS AT LAW




                                                                           INVESTORS, INC., et al.,                         Chapter 11
                                                                    14
                                                                                         Debtors.
                                                                    15
                                                                           MICHAEL GOLDBERG,
                                                                    16     TRUSTEE OF THE PFI TRUST,                        Adv. Proc. No. 22-03096

                                                                    17                                                      CERTIFICATE OF SERVICE
                                                                                                           Plaintiff,
                                                                    18
                                                                                   v.
                                                                    19
                                                                           WU-WEI ASSOCIATES,
                                                                    20
                                                                                                           Defendant.
                                                                    21

                                                                    22

                                                                    23

                                                                    24

                                                                    25

                                                                    26

                                                                    27

                                                                    28

                                                                                                                            1
                                                                           DOCS_SF:107725.1
                                                                         Case: 22-0309670042/001
                                                                                            Doc#    4   Filed: 08/02/22   Entered: 08/02/22 11:20:17   Page 1 of 3
                                                                     1     STATE OF CALIFORNIA                     )
                                                                                                                   )
                                                                     2     CITY OF SAN FRANCISCO                   )

                                                                     3             I, Oliver Carpio, am employed in the city and county of San Francisco, State of California. I am
                                                                           over the age of 18 and not a party to the within action; my business address is One Market Plaza, Spear
                                                                     4     Tower, 40th Floor, Suite 4000, San Francisco, CA 94105-1020.

                                                                     5             On August 2, 2022, I caused to be served the following documents in the manner stated below:

                                                                     6                Complaint for Avoidance and Recovery of Fraudulent Transfer [ Docket No. 1]

                                                                     7                AP Cover Sheet [Docket No. 1-1]
                                                                                      Order re Initial Disclosures and Discovery Conference [Docket No. 2]
                                                                     8
                                                                                      Summons [Docket No. 3]
                                                                     9
                                                                                          TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
                                                                    10                    The foregoing document was served by the court via NEF and hyperlink to the

                                                                    11
                                                                                         document. On _____________, I checked the CM/ECF docket for this bankruptcy case
                                                                                          or adversary proceeding and determined that the following persons are on the Electronic
                                                                                          Mail Notice List to receive NEF transmission at the email addresses stated below.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12

                                                                                         (BY OVERNIGHT DELIVERY) By sending by FedEx and/or USPS Express Mail to
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13                    the addressee(s) as indicated on the attached list.
                                            ATTORNEYS AT LAW




                                                                    14                    (BY MAIL) I am readily familiar with the firm's practice of collection and processing
                                                                                          correspondence for mailing. Under that practice it would be deposited with the U.S.
                                                                    15                    Postal Service on that same day with postage thereon fully prepaid at San Francisco,
                                                                    16                   California, in the ordinary course of business. I am aware that on motion of the party
                                                                                          served, service is presumed invalid if postal cancellation date or postage meter date is
                                                                                          more than one day after date of deposit for mailing in affidavit.
                                                                    17
                                                                                                                             **See Attached**
                                                                    18
                                                                                          (BY EMAIL) I caused to be served the above-described document by email to the
                                                                    19                   parties indicated on the attached service list at the indicated email address.

                                                                    20            I declare under penalty of perjury, under the laws of the State of California and the United States of
                                                                           America that the foregoing is true and correct.
                                                                    21
                                                                                   Executed on August 2, 2022 at San Francisco, California.
                                                                    22

                                                                    23                                                                            /s/ Oliver Carpio
                                                                                                                                                   Legal Assistant
                                                                    24

                                                                    25

                                                                    26

                                                                    27

                                                                    28

                                                                                                                                 2
                                                                           DOCS_SF:107725.1
                                                                         Case: 22-0309670042/001
                                                                                            Doc#     4   Filed: 08/02/22       Entered: 08/02/22 11:20:17          Page 2 of 3
                                                                     1     SERVED VIA US MAIL

                                                                     2     Wu-Wei Associates                George Pegelow
                                                                           PO Box 4396                      80 Surrey Lane
                                                                     3     San Rafael, CA 94913-4396        San Rafael, CA 94903-3230

                                                                     4

                                                                     5

                                                                     6

                                                                     7

                                                                     8

                                                                     9

                                                                    10

                                                                    11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13
                                            ATTORNEYS AT LAW




                                                                    14

                                                                    15

                                                                    16

                                                                    17

                                                                    18

                                                                    19

                                                                    20

                                                                    21

                                                                    22

                                                                    23

                                                                    24

                                                                    25

                                                                    26

                                                                    27

                                                                    28

                                                                                                                           3
                                                                           DOCS_SF:107725.1
                                                                         Case: 22-0309670042/001
                                                                                            Doc#   4   Filed: 08/02/22   Entered: 08/02/22 11:20:17   Page 3 of 3
